                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       NO. 3:12-00013
                                            )       JUDGE CAMPBELL
WILLIAM BLAKE BYRD                          )


                                           ORDER

       Pending before the Court is a Motion to Set Hearing for Change of Plea (Docket No.

320). The Motion is GRANTED.

       The Court will hold a change of plea hearing on December 31, 2012, at 3:00 p.m. Any

proposed plea agreement shall be submitted in advance of the hearing.

       IT IS SO ORDERED.



                                                    __________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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